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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

   UNITED STATES OF AMERICA,                         )
                                                     )
           Plaintiff,                                )
                                                     )       No. 5:20-CR-060-GFVT-MAS-1
   v.                                                )
                                                     )
   JOHN WILLIAM LAWSON,                              )
                                                     )
           Defendant.                                )

                                         OPINION & ORDER

        Defendant John Lawson asks the Court to rehear his suppression motion [DE 21]. Lawson

 claims that he was unable to adequately hear the full proceeding, constituting a violation of

 unspecified rights. [DE 32]. The Government responded, arguing that Lawson had no right to be

 physically present at the hearing or to dictate defense counsel’s precise examination of the witness.

 [DE 34]. For the reasons that follow, the Court denies Lawson’s motion for rehearing.

                                    I.    RELEVANT FACTS

        In late August 2020, Lawson filed a motion to suppress the fruits of vehicle and residence

 searches stemming from an insurance-based traffic stop in February 2020. [DE 21]. Lawson

 claimed that the Automated Vehicle Information System (“AVIS”) readback on his vehicle that

 indicated need for insurance verification—the officer’s sole basis for the stop—was unreliable and

 did not give rise to reasonable suspicion of any violation. Per relevant case law, the dispositive

 issues were simply whether AVIS was sufficiently reliable, and, relatedly, whether the stopping

 officer was appropriately familiar with the database. Lawson raised no factual issues concerning

 the stop circumstances in his motion.
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        Following briefing, the Court heard the motion on September 21, 2020. [DE 29]. Due to

 COVID-19 restrictions on cross-facility transport to and from the courthouse, Lawson participated

 in the suppression hearing via videoconference.1 After initial difficulty hearing the proceeding

 from the detention center, the facility adjusted the audio, and the Court promised to speak as loudly

 as possible for Lawson’s benefit. [Hearing Recording, at 00:25–00:35]. The Court was able to

 hear Lawson and other sound from the jail. Lawson verbally expressed no further difficulty

 hearing during the remainder of the proceeding. Nor did Lawson gesture or make any visible

 attempt to alert the Court (or, per the motion, defense counsel) to such an issue. The Court

 remained in direct view of Lawson’s video and was able to observe him clearly during the entirety

 of the hearing. Only Detective Gerald Salyer, who conducted the at-issue traffic stop, testified at

 the suppression hearing. [DE 30]. As the audio recording of the hearing demonstrates, Detective

 Salyer’s testimony was limited to facts bearing on his familiarity with AVIS and AVIS’s reliability

 and accuracy. Neither party raised, and the Court did not hear proof on, any contested facts relating

 to the stop details. Indeed, there were no factual disputes before the Court at all; the sole question

 was the legal sufficiency of the proof as to the reliability of the AVIS system.

        Following the hearing and after thorough consideration of the record and relevant legal

 issues, the Court recommended denial of Lawson’s suppression motion. [DE 31, Report and

 Recommendation]. This motion for rehearing followed.

                                        II.    ANALYSIS

        Lawson claims that he was unable to hear the full suppression hearing. He asserts that he

 had a right to participate in the hearing in person, arguing that the outcome of the proceeding would




        1
           All other hearing participants, including both counsel and the undersigned, were
 physically present in the courtroom.
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 have been different had he been able to direct counsel’s questioning of Detective Salyer. The

 Court disagrees for several reasons.

        Initially, Lawson points to no authority guaranteeing his right to be physically present—or

 present at all—at a pretrial suppression hearing. Rule 43 explicitly protects a defendant’s right to

 be present at the initial appearance, arraignment, any plea hearing, all trial stages, and sentencing.

 Fed. R. Crim. P. 43(a). The Sixth Circuit has confirmed that Rule 43’s presence right does not,

 however, extend to pretrial suppression hearings (even evidentiary ones). See United States v.

 Burke, 345 F.3d 416, 421–22 (6th Cir. 2003).2 See also United States v. Rosenschein, No. CR 16-

 4571 JCH, 2020 WL 4227852, at *3 (D.N.M. July 23, 2020) (“[T]he text of Rule 43 does not

 support the conclusion that Defendant has a right to be present at the suppression hearing.”); id. at

 *2 (collecting cases concluding that Rule 43 does not apply to other pretrial evidentiary hearings,

 e.g., Daubert hearings and hearings on motions in limine).

        Similarly, the Sixth Amendment right to confront witnesses applies, if at all, to a much

 lesser extent at a pretrial suppression hearing than at a trial. Id. at 426 (quoting Barber v. Page,

 390 U.S. 719, 725 (1968)) (observing that “the Supreme Court has repeatedly explained that ‘[t]he

 right to confrontation is basically a trial right’”); see also United States v. Davis, 361 F. App’x

 632, 636 (6th Cir. 2010) (quoting United States v. Raddatz, 447 U.S. 667, 679 (1980)) (collecting

 cases questioning whether the confrontation right applies at all at suppression hearings and noting

 that, even if it does, it would apply less forcefully because “the interests at stake in a suppression



        2
           Additionally, as discussed infra and as an independent Rules-based reason for rejecting
 Lawson’s position, Lawson’s physical presence would not have affected the hearing outcome.
 Burke, 345 F.3d at 424 (quoting United States v. Harris, 9 F.3d 493, 499 (6th Cir. 1993)) (“[T]he
 rule requiring a defendant’s presence at every stage of the trial must be considered with Rule 52(a)
 of the Federal Rules of Criminal Procedure, [which provides] that harmless error is to be
 disregarded.”). Likewise, per Burke, Rule 26’s open-court testimony requirement affords no relief
 basis in this scenario. See id.
                                                   3
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 hearing are of a lesser magnitude than those in the criminal trial itself”). And, even where the right

 does apply with full force (i.e., at trial), the right to physical, in-person confrontation is far from

 unqualified. Burke, 345 F.3d at 425 (quoting Maryland v. Craig, 497 U.S. 836, 852 (1990)) (“But

 the physical confrontation right is not absolute, and alternatives such as video-confrontation may

 be acceptable where ‘necessary to further an important policy.’”).

         Neither did Lawson’s video appearance at the suppression hearing, or his asserted difficulty

 hearing during the proceeding, compromise his right to confer with and receive effective assistance

 from counsel. Lawson does not suggest that he was unable to fully discuss suppression strategy

 and arguments with counsel prior to the hearing. During the hearing itself, he did not have an

 unfettered right to control his counsel’s questioning of the witness. See 28 U.S.C. § 1654

 (permitting, in the disjunctive, parties to “plead and conduct their own cases personally or by

 counsel”) (emphasis added); cf. United States v. Dunn, No. 2:08-CR-20429-STA, 2012 WL

 1680969, at *1 (W.D. Tenn. Mar. 27, 2012), report and recommendation adopted, No. 08-20429,

 2012 WL 1680940 (W.D. Tenn. May 13, 2012), aff’d sub nom. United States v. Evans, 549 F.

 App’x 397 (6th Cir. 2013) (“It is well-settled that a litigant who is represented by counsel has no

 constitutional right to demand that the Court also consider pro se arguments, pleadings, or

 motions.”); Wilson v. Hurt, 29 F. App’x 324, 328 (6th Cir. 2002) (emphasizing that a “defendant

 has no right to demand hybrid representation” comprising both counseled and independent

 litigation efforts).

         Further, defense counsel had full opportunity to cross-examine Detective Salyer about the

 AVIS system on behalf of Lawson. The record reflects counsel’s thorough questioning. Nor did

 counsel—or the Court—ignore any visible or audible attempts from Lawson to interject or

 intervene during the hearing. Given Lawson’s willingness to inform the Court when he could not



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 properly hear at proceeding outset (and, as the Government notes, Lawson’s broader propensity

 for readily alerting the Court to perceived issues generally), there was no reason for any hearing

 participant to suspect that an audio issue persisted. See Banda v. United States, No. CV 113-080,

 2014 WL 3363033, at *7 (S.D. Ga. July 9, 2014) (“An attorney can only be reasonably expected

 to act on information provided by his client.”); cf. United States v. Tai, No. CR 10-769, 2018 WL

 4615972, at *7 (E.D. Pa. Sept. 26, 2018) (reasoning that, as the defendant “never indicated he was

 unable to hear large portions of proceedings” at trial and “given [the defendant]’s practice of

 alerting [counsel] when he could not hear,” counsel “had no reason to believe [the defendant]’s

 difficulty hearing extended beyond what he brought to [counsel]’s attention”).

        Moreover, as a practical matter, no facts within Lawson’s knowledge were at issue during

 the hearing. The details and circumstances of the stop itself, as far as it factually concerned

 Lawson, were undisputed. Lawson’s motion contested only the constitutionality of an AVIS-based

 stop. There is no indication whatsoever that Lawson could have offered useful insight into or

 clarification of the proof pertaining to AVIS reliability or Detective Salyer’s personal familiarity

 with the system. Thus, there is no evidence that Lawson’s direct involvement in questioning

 Detective Salyer would have materially shaped the proof presented or led to a better-informed

 result. To rehear the motion sans potential for additional illumination of the dispositive issues

 would squander Court and party time and resources and senselessly elevate form over substance.

 And, to the extent Lawson fairly seeks involvement in crafting any objections to the Report &

 Recommendation, the recording of the proceeding adequately captures all hearing events. The

 recording clearly and accurately reflects the full audio from the proceeding.

        Lastly, the Court finds that Lawson’s asserted hearing difficulty did not violate his Fifth

 Amendment due process right in this context. The Due Process Clause enshrines a defendant’s



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 right to be present “to the extent that a fair and just hearing would be thwarted by his absence[.]”

 Kentucky v. Stincer, 482 U.S. 730, 745 (1987). However, the Supreme Court has recognized “that

 ‘the process due at a suppression hearing may be less demanding and elaborate than the protections

 accorded the defendant at the trial itself.’” Burke, 345 F.3d at 426 (quoting Raddatz, 447 U.S. at

 679). The Burke court rightly questioned whether the defendant’s “right to a fair and just hearing

 would have been thwarted even had he been entirely excluded from his suppression hearing.” Id.;

 see also Yates v. United States, 418 F.2d 1228, 1229 (6th Cir. 1969) (finding “no merit to [the

 appellant’s] claim” that his “constitutional rights were violated because he was excluded from the

 hearing to suppress evidence”). In any event, for the reasons already discussed, there is no

 indication that further direct participation from Lawson would have benefited or altered the hearing

 outcome.    And Lawson surely had no guaranteed right to micromanage counsel’s cross-

 examination or hearing performance to the degree he suggests.

        Accordingly, the Court cannot conclude that Lawson’s auditory difficulties, even if

 present, prevented a fair and just proceeding. No Fifth Amendment violation pertains.

                                    III.    CONCLUSION

        In sum, the Court finds no legal support for Lawson’s argued right to physical presence at

 his pretrial suppression hearing. Any prolonged hearing lapses stemmed from Lawson’s own

 failure to alert the Court to audio issues and, regardless, did not meaningfully impact the

 proceeding or recommended result.         The Court finds no constitutional violation under the

 circumstances.    Further, the complete audio recording of the hearing preserves Lawson’s

 unimpaired ability to consult with counsel concerning any objections to the recommended

 suppression motion disposition.

        Accordingly, for the reasons thoroughly here outlined, the Court DENIES the DE 32

 request for rehearing.
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       Entered this the 16th day of October, 2020.




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